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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA, CRIMINAL NO. 21-002 (DRD)
Plaintiff,
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Ms V RECEIVED & FILED ~,
“ “CLERK'S OFFICE “,,
[3] Andres Alexander Hernandez-De Jesus, * MAR 3.1 2023

Defendant.

 

 

% US DISTRICT COURT &
? ‘° SAN JUAN, PR

‘
PLEA AGREEMENT "*56539”

TO THE HONORABLE COURT:

The United States of America, Defendant, Andres Alexander Hernandez-De
Jesus, and Defendant’s counsel, Juan F. Matos-De-Juan, Esq., pursuant to Federal
Rule of Criminal Procedure 11, state that they have reached a Plea Agreement, the
terms and conditions of which are as follows:

1. Charges to which Defendant will Plead Guilty
Defendant agrees ees guilty to Count Three of the Indictment:

Count- One: Tyree AY. Yor

On or about December 29, 2020, in the District of Puerto Rico and within the

: jurisdiction of this Court, the Defendant, Andres Alexander Hernadez-De Jesus, and

other persons, knowingly and intentionally combined, conspired, confederated and
agreed with each other, and with others both known and unknown to the Grand Jury,
to commit the following offense against the United States, specifically to possess with

intent to distribute five (5) kilograms or more of a mixture or substance containing a
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detectable amount of cocaine, a Schedule II narcotic drug controlled substance. All in
violation of 21 U.S.C. §§ 846, 841(a)(1), and (b)(1)(A) Gi).

However, Defendant agrees to plead guilty to the lesser included drug weight in
Count One of the Indictment, that is, a drug weight of 500 grams or more of a mixture
or substance containing a detectable amount of cocaine, a Schedule I narcotic drug
controlled substance. All in violation of 21 U.S.C. §§ 841(a)(1) & (b)(1)(B)Gi) and 846.

2. Stipulation as to the Amount of Narcotics
Notwithstanding Defendant’s guilty plea to a lesser included drug weight for
purposes of the applicable statutory penalties, The United States and the defendant,
Andres Alexander Hernandez-De Jesus, stipulate that, for sentencing guideline
purposes, the defendant shall be accountable for the possession with intent to distribute
at least 50 kilograms but less than 150 kilograms of cocaine, a Schedule IT narcotic

drug controlled substance.

3. Maximum perl HH. H E

Count One: In regards to Count-Orne; the statutory penalty for the offense

charged in Count One of the Indictment, based on Defendant’s guilty plea to a lesser
included drug weight, is a term of imprisonment which may not be less than five (5)
years or more than forty (40) years; a fine not to exceed five million dollars
($5,000,000); and a supervised release term of at least four (4) years, all pursuant to 21
U.S.C. § 841(b)(1)(B).

4. Sentencing Guidelines Applicability

Defendant understands that the sentence will be imposed by the Court in

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accordance with 18 U.S.C. § § 3551-86, and the United States Sentencing Guidelines
(hereinafter “Guidelines”), which are advisory pursuant to the United States Supreme
Court decision in United States v. Booker, 543 U.S. 220 (2005).. Further, Defendant
acknowledges that parole has been abolished, and that the imposition of Defendant’s
sentence may not be suspended.
5. Special Monetary Assessment
Defendant agrees to pay a special monetary assessment (“SMA”) of one
hundred dollars ($100.00) per count of conviction. The SMA will be deposited in the
Crime Victim Fund, pursuant to 18 U.S.C. § 3013 (a)(2)(A).
6. Fines and Restitution
The Court may, pursuant to Section 5E1.2 of the Guidelines order Defendant
to pay a fine. The Court may also impose restitution. Defendant agrees to execute and
make available, prior to sentencing, a standardized financial statement (OBD Form
500). The United States will advocate on behalf of any identified victim, and comply
with its obligations under the Mandatory Victim Restitution Act of 1996.
7. Sentence to be Determined by the Court
Defendant understands that the sentence to be imposed will be determined
solely by the United States District Judge. The United States cannot make and has not
made any promise or representation as to what sentence Defendant will receive. Any
discussions that the parties might have had about possible sentences are not binding in
any way on the Court, and do not constitute representations about what the parties

will seek, or what the actual sentence will be.

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8. Recommended Sentencing Guidelines Calculations
After due consideration of the relevant factors enumerated in 18 U.S.C. 8
3553(a), the United States and Defendant submit that the advisory Guidelines
calculations listed below apply to Defendant. However, Defendant acknowledges that

the Court is not required to accept those recommended Guidelines calculations.

 

SENTENCING GUIDELINES CALCULATIONS
COUNT THREE
21 U.S.C. § 841(a)(1), 846
Base Offense Level pursuant to U.S.S.G. § 2D1.1(c)(3) and

2D1.1(a)(5)(ii) (at least 50 KG but less than 150 KG of
Cocaine, resulting in BOL 34 under 2D1.1(c)(3), which is then

 

reduced 3 levels since the defendant receives a reduction under

3B1.2) 31 (reduced from

 

 

 

 

 

 

I A Minimal Participant Reduction; USSG. § 3B12(a) .
St Acceptance of Responsibility pursuant to U.S.S.G. §3E1.1 3
Se TOTAL ADJUSTED OFFENSE LEVEL 25
SS CH Cat. I | CH Cat. II | CH Cat. II} CH Cat.IV | CH Cat.V ) CH Cat. VI
57-71 63-78 70-87 84-105 100-125 110-137

 

 

 

 

 

 

 

 

9. Sentence Recommendation
As to Count Three, and after due consideration of the relevant factors
enumerated in 18 U.S.C. § 3553(a), the parties agree to jointly recommend the

mandatory minimum sentence of 60 months of imprisonment.

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The parties agree that any recommendation by either party for a term of
imprisonment below or above the stipulated sentence recommendation will constitute
a material breach of the Plea Agreement.

10.No Stipulation as to Criminal History Category
The parties do not stipulate as to any Criminal History Category for Defendant.
11. Waiver of Appeal

Defendant knowingly and voluntarily agrees that, if the imprisonment sentence
imposed by the Court is 60 months or less, Defendant waives the right to appeal any
aspect of this case’s judgment and sentence, including, but not limited to the term of
imprisonment or probation, restitution, fines, forfeiture, and the term and conditions
of supervised release.

12.No Further Adjustments or Départures

The United States and Defendant agree that no further adjustments or
departures to Defendant’s total adjusted base offense level and no variant sentence
under 18 U.S.C. §3553—other than any explicitly provided for in this Plea
Agreement—shall be sought by Defendant. The parties agree that any request by
Defendant for an adjustment or departure that is not explicitly provided for in this Plea

Agreement will be considered a material breach of this Plea Agreement, and the

United States will be free to ask for any sentence, either guideline or statutory.

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13. Satisfaction with Counsel
Defendant is satisfied with counsel, Juan F. Matos-De-Juan, Esq., and asserts
that counsel has rendered effective legal assistance.
14.Rights Surrendered by Defendant Through Guilty Plea
Defendant understands that by entering into this Plea Agreement, Defendant
surrenders and waives certain rights as detailed in this agreement. Defendant
understands that the rights of criminal defendants include the following:

a. If Defendant had persisted in a plea of not guilty to the charges,
Defendant would have had the right to a speedy jury trial with the
assistance of counsel. The trial may be conducted by a judge sitting
without a jury if Defendant, the United States and the judge agree.

b. If a jury trial is conducted, the jury would be composed of twelve lay
persons selected at random. Defendant and Defendant’s attorney would
assist in selecting the jurors by removing prospective jurors for cause
where actual bias or other disqualification is shown, or by removing
prospective jurors without cause by exercising peremptory challenges.
The jury would have to agree, unanimously, before it could return a
verdict of either guilty or not guilty. The jury would be instructed that
Defendant is presumed innocent, that it could not convict Defendant
unless, after hearing all the evidence, it was persuaded of Defendant’s
guilt beyond a reasonable doubt, and that it was to consider each charge
separately.

c. Ifa trial is held by the judge without a jury, the judge would find the facts
and, after hearing all the evidence and considering each count separately,
determine whether or not the evidence established Defendant’s guilt
beyond a reasonable doubt.

d. At a trial, the United States would be required to present its witnesses
and other evidence against Defendant. Defendant would be able to
confront those witnesses and Defendant’s attorney would be able to
cross-examine them. In turn, Defendant could present witnesses and
other evidence on Defendant’s own behalf. If the witnesses for Defendant
would not appear voluntarily, Defendant could require their attendance
through the subpoena power of the Court.

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e. Ata trial, Defendant could rely on the privilege against self-incrimination
to decline to testify, and no inference of guilt could be drawn from
Defendant’s refusal to testify. If Defendant desired to do so, Defendant
could testify on Defendant’s own behalf.
15.Stipulation of Facts
The accompanying Stipulation of Facts signed by Defendant is hereby
incorporated into this Plea Agreement. Defendant adopts the Stipulation of Facts and.
agrees that the facts therein are accurate in every respect. Defendant agrees and accepts
that had the matter proceeded to trial, the United States would have proven those facts
beyond a reasonable doubt.
16.Limitations of Plea Agreement
This Plea Agreement binds! only the United States Attorney’s Office for the
District of Puerto Rico and Defendant. It does not bind any other federal district, state,
or local authorities.
17.Entirety of Plea Agreement
This written agreement constitutes the complete Plea Agreement between the
United States, Defendant, and Defendant’s counsel. The United States has made no
promises or representations except as set forth in writing in this Plea Agreement and.
denies the existence of any other terms and conditions not stated herein.
18.Amendments to Plea Agreement
No other promises, terms or conditions will be entered into between the parties

unless they are in writing and signed by all parties.

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19.Dismissal of Remaining Counts
At sentencing should there be any pending counts and should the Defendant
comply with the terms of this Plea Agreement, the United States will move to dismiss
the remaining counts of the Indictment pending against Defendant in this case.
20. Voluntariness of Plea Agreement
Defendant acknowledges that no threats have been made against Defendant and
that Defendant is pleading guilty freely and voluntarily because Defendant is guilty.
21.Breach and Waiver

Defendant agrees that defendant will have breached this Plea Agreement if,

after entering into this Plea Agreement, Defendant: (a) fails to perform or to fulfill

completely each and every one of Defendant’s obligations under this Plea Agreement;
(b) engages in any criminal activity stir to sentencing: or (c) attempts to withdraw
Defendant’s guilty plea. In the event of such a breach, the United States will be free
from its obligation under this Plea Agreement and Defendant will not have the right
to withdraw the guilty plea. Moreover, Defendant agrees that if Defendant is in breach
of the Plea Agreement, Defendant is deemed to have waived any objection to the
reinstatement of any charges under the Indictment, Information, or complaint which
may have previously been dismissed or which may have not been previously
prosecuted.
22.Potential Impact on Immigration Status

Pursuant to Federal Rule of Criminal Procedure 11(b)(1)(O), Defendant hereby

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agrees and recognizes that if convicted, a Defendant who is not a United States citizen

may be removed from the United States, denied citizenship, and denied admission to

the United States in the future.

23.Felony Conviction

Defendant hereby agrees and recognizes that the plea of guilty in this case will

be recognized as a felony conviction, which will result in the loss of certain rights,

including but not limited to the right to vote in a federal election, to serve as a juror,

to hold public office, and to lawfully possess a firearm.

W. STEPHEN MULDROW
United States Attorney

KD,

Max Perez-Bouret
Assistant U.S. Attorney, Chief

Transnational Organized Crime Section
Dated: n sfeates
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Maria Montafiez-Concepcion
Assistant U.S. Attorney, Deputy Chief

Transnational Organized Crime Section
Dated: 3 aS

Antonio L. Perez-Alonso
Assistant U S, Attorney
Dated:__~ 7 22 /7.23

 

 

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Juan F. Matos-De-Juan, Esq.

Counsel for Defendant
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Andres Alexander Hernandez- De Jesus

Defendant
Dated: —aly [xs

 

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UNDERSTANDING OF RIGHTS

I have consulted with counsel and fully understand all of my rights as to the
charges pending against me. Further, I have consulted with my attorney and fully
understand my rights as to the provisions of the Guidelines that may apply in my
case. I have read this Plea Agreement and carefully reviewed every part of it with my
attorney. My counsel has translated the Plea Agreement to me in the Spanish
language and I have no doubts as to the contents of the agreement. I fully understand

this agreement and voluntarily agree to it.

Date: _3 25 Cngres Varad cs

Andres Alexander I Hernandez-De Jesus
Defendant

I am the attorney for Defendant. I haye fully explained Defendant’s rights to
Defendant with respect to the pending cndiges: Purther, I have reviewed the
applicable provisions of the Guidelines and I have fully explained to Defendant the
provisions of those Guidelines that may apply in this case. I have carefully reviewed
every part of this Plea Agreement with Defendant. I have translated the Plea
Agreement and explained it in the Spanish language to the Defendant who has
expressed having no doubts as to the contents of the agreement. To my knowledge,
Defendant is entering into this Plea Agreement voluntarily, intelligently, and with

full knowledge of all consequences of Defendant’s plea of Oo

Date: 4 | 3 | zy \=—

Juan F. Matos-De-Juan
Counsel for Defendant

 

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STIPULATION OF FACTS

In conjunction with the submission of the accompanying Plea Agreement in
this case, the Defendant Andres Alexander Hernandez-De Jesus admits that
Defendant is guilty as charged in the Indictment and admits the following:

On November 15, 2020, Homeland Security Investigations (HSD Special
Agents received information regarding a Drug Trafficking Organization (DTO)
looking for transportation means to introduce hundreds of kilograms of cocaine into
Puerto Rico. During the investigation, an HSI Undercover (UC) Officer acting as a
boat owner and captain was introduced to suspected members of the DTO. In a first
meeting between the HSI UC Officer and the DTO, two DTO members immediately
requested to the HSI UC Officer his services as. boat captain to help them introduce
cocaine coming from Venezuela and the Dominican Republic into Puerto Rico.

During a second meeting between the HSI UC Officer and the DTO, members
of the DTO handed $5,000.00 USD in cash to the HSI UC to be used for fuel expenses
in a cocaine smuggling venture at a date to be set. The DTO also provided specific
coordinates to the HSI UC Officer with instructions for a sea transfer of cocaine from
a DTO vessel to the HSI UC Officer's smuggling vessel. The coordinates were located
approximately 130 nautical miles south of Maunabo, Puerto Rico.

Between December 18, 2020 and December 24, 2020, DTO members contacted

the HSI UC Officer, who was still acting as a boat captain, and instructed him to make

his way to the location for the sea transfer using the previously provided coordinates

to pick up approximately 300 to 320 kilograms of cocaine. During several

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conversations between the DTO and the HSI UC Officer, information was
documented indicating that the narcotics for this smuggling venture were coming from
Venezuela possibly in an old and slow fishing vessel. The DTO also requested to the
HSI UC Officer to deliver $75,000.00 USD in cash to the DTO members during the
sea transfer.

HSI immediately shared this information with the appropriate agencies in an
attempt to locate and interdict a potential cocaine smuggling load headed to Puerto
Rico. On December 26, 2020, a Joint Interagency Task Force South Maritime Patrol
Aircraft (MPA), using the information provided by the DTO to the HSI UC Officer,
located a Surface Target of Interest (STOI) approximately 100 miles south of
Maunabo, Puerto Rico. The information was immediately relayed to the United States
Coast Guard (USCG) who deployed the Richard Dixon Cutter to locate and
investigate the target.

Once the USCG located the target, they approached what they identified as a
fishing vessel and during the approach and inspection process, a crew member from
the fishing vessel freely stated to a USCG Boarding Team (BT) member that they were
carrying drugs. The vessel was registered in Venezuela and it matched the description
previously documented during several calls between the DTO and the HSI UC Officer.

The USCG requested and obtained permission to board the vessel from the
Recognized Government of Venezuela and during the boarding process they
encountered 6 Venezuelan Citizens. During the initial approach and before the

boarding process, USCG members observed suspicious packages on the forward deck

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area wrapped in a manner consistent with drug contraband. Once the boarding was
authorized, USCG BT members approached the suspicious packages and conducted
a field test of 2 of the packages yielding positive results for the presence of cocaine. A
sample of the bales eventually lab-tested positive for cocaine. A total of 16 bags or
bales were located next to each other. The approximate weight of the 16 bales at the
time of encounter was 300 kilograms. Once the field test was completed, the USCG
immediately detained all 6 crew members, pending further investigation.

After the interdiction at sea, HSI agents set up a controlled delivery of sham
narcotics to members of the DTO. In conversations between the HSI UC and a
member of the DTO, the UC agreed to deliver the cocaine to the DTO in exchange
for $75,000. Four individuals showed up to the agreed-upon location to pick up the
sham cocaine in a red Jeep Grand’ Cherokee! including the defendant, Andres
Alexander Hernandez-De Jesus. During a search of the Grand Cherokee, agents found
approximately $75,020 in cash.

For purposes of this plea agreement, the defendant, Andres Alexander
Hernandez-De Jesus admits that he did knowingly and intentionally combine,
conspire, confederate and agree with others, to possess with intent to distribute at least
50 kilograms but less than 150 kilograms of cocaine.

Had this matter proceeded to trial, the United States would have presented
evidence through the testimony of witnesses as well as physical evidence and
documentary evidence, which would have proven beyond a reasonable doubt

Defendant’s guilt.

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At trial, the United States would have proven beyond a reasonable doubt that
defendant Andres Alexander Hernandez-De Jesus is guilty as charged in Count Three

of the Indictment. Discovery was timely made available to Defendant for review.

Antonio L. Perez-Alonso Juan F. Matos-De-Juan, Esq.

Assistant U.S. Attorney Counsel for Defendant
Dated: 3/22 /2e23 Dated: 23($t |23

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Andres Aléxander Hernandez-De Jesus
Defend

ant
Dated: 3 mg 23

 

 

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